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1    QUIN DENVIR, Bar #49374
     Federal Defender
2
     MATTHEW C. BOCKMON, Bar #161566
3    Assistant Federal Defender
     Designated Counsel for Service
4    801 I Street, 3rd Floor
     Sacramento, California 95814
5    Telephone: (916) 498-5700
6    Attorney for Defendant
     JAIME GUERRA ROSAS
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8
9                        IN THE UNITED STATES DISTRICT COURT
10                     FOR THE EASTERN DISTRICT OF CALIFORNIA
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12
13   UNITED STATES OF AMERICA,       ) NO. CR-S-02-366-LKK
                                     )
14                  Plaintiff,       )
                                     ) ORDER FOLLOWING HEARING
15        v.                         )
                                     )
16   JAIME GUERRA ROSAS,             )
                                     ) Judge: Hon. Lawrence K. Karlton
17                  Defendant.       )
                                     )
18   _______________________________ )
19        This matter was before the court on April 19, 2005 for status
20   hearing.    The government was represented by Robin Taylor, Assistant
21   United States Attorney, on behalf of William Wong, and the defendant
22   was present with his counsel, Matthew C. Bockmon, Assistant Federal
23   Defender.   The defendant was present with the Court's interpreter.
24        More time was requested as defense counsel is still awaiting the
25   government's decision on the counter-offer submitted by the defense.
26        Good cause appearing therefor,
27        IT IS ORDERED that this matter is continued to April 26, 2005 at
28   9:30 a.m. for further Status Conference/Change of Plea.
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1          IT IS FURTHER ORDERED that pursuant to 18 U.S.C. §3161 (h)(8)(B)
2    (iv) and Local Code T4, the period from April 19, 2005 to April 26,
3    2005 is excluded from the time computations required by the Speedy
4    Trial Act due to ongoing preparation of counsel.
5    Dated:    April 21, 2005
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                                         _____/s/Lawrence K. Karlton
7                                             LAWRENCE K. KARLTON
                                              Senior Judge
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     Order Following Hearing                   2
